










MEMORANDUM OPINION


No. 04-04-00933-CR

Daniel Paul AGUILAR,
Appellant

v.

The STATE of Texas,
Appellee

From the 399th Judicial District Court, Bexar County, Texas
Trial Court No. 2003-CR-2087
Honorable Juanita Vasquez-Gardner, Judge Presiding

PER CURIAM
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Sitting:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Catherine Stone, Justice
Sarah B. Duncan, Justice
Karen Angelini, Justice

Delivered and Filed:  June 1, 2005 

DISMISSED
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court’s certification in this appeal states that this case “is a plea-bargain case, and
the defendant has NO right of appeal.”  Rule 25.2(d) of the Texas Rules of Appellate Procedure
provides, “[t]he appeal must be dismissed if a certification that shows the defendant has a right of
appeal has not been made part of the record under these rules.”  Tex. R. App. P. 25.2(d).  On April
18, 2005, we ordered that this appeal would be dismissed pursuant to Rule 25.2(d) unless appellant
filed an amended trial court certification showing that he had the right of appeal by May 18, 2005. 
See Tex. R. App. P. 25.2(d); 37.1; see also Daniels v. State, 110 S.W.3d 174, 177 (Tex. App.—San
Antonio 2003, no pet.).  No such amended trial court certification has been filed.  Therefore, Rule
25.2(d) requires this court to dismiss this appeal.  Accordingly, this appeal is dismissed.
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Do Not Publish
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